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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )            8:06CR184
                                                )
        vs.                                     )             ORDER
                                                )
CESSAR JIMENEZ AGUILA,                          )
GREGG STEVENSON and                             )
STEVE EUGENE ENCINAS,                           )
                                                )
                     Defendants.                )


        This matter is before the court on the Corrected Joint Motion of defendant Gregg
Stevenson (Stevenson) and the United States to continue the suppression hearing
scheduled for October 3, 2006 (Filing No 42). The motion will be granted. The hearing
date will be rescheduled following a telephone conference call with counsel on October 31,
2006.


        IT IS ORDERED:
        1.    The Corrected Joint Motion to continue (Filing No. 42) is granted. Filing No.
41 is denied as moot.
        2.    Counsel for Stevenson and the United States shall participate in a telephone
conference call at 2:30 p.m. (Central Standard Time) on October 31, 2006, with the
undersigned magistrate judge for the purpose of rescheduling the suppression hearing.
Counsel for the United States shall initiate the telephone conference.
        DATED this 27th day of September, 2006.
                                                BY THE COURT:
                                                s/Thomas D. Thalken
                                                United States Magistrate Judge
